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10 Acacia Research Corporation

11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13                                 SOUTHERN DIVISION
14   HMD GLOBAL OY,                           Case No. 8:20-mc-127
15                       Movant,              DECLARATION OF ERIC LUCAS
                                              IN SUPPORT OF HMD GLOBAL
16          vs.                               OY’S APPLICATION FOR LEAVE
                                              TO FILE UNDER SEAL
17   ACACIA RESEARCH
     CORPORATION,                                   CONTAINS INFORMATION
18                                                  THAT IS HIGHLY
                         Respondent.                CONFIDENTIAL
19
                                              Judge: John D. Early
20                                            Date: January 21, 2021
                                              Time: 10:00 a.m. PST
21                                            Place: [TBD]
                                              Discovery Cutoff: March 18, 2021
22                                            Pretrial Conference: June 29, 2021
                                              Trial Date: August 2, 2021
23

24

25                                            [FILED UNDER SEAL PURSUANT
                                              TO LOCAL RULE 79-5.2.2(b)]
26

27

28



     DECLARATION OF ERIC LUCAS
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 1        I, Eric Lucas, hereby declare as follows:
 2        1.     I submit this declaration based on personal knowledge and following a
 3 reasonable investigation. If called upon as a witness, I could and would competently

 4 testify to the truth of each statement herein.

 5        2.     I am the Senior Vice President of Acacia Research Corporation
 6 (“ARC”), a publicly traded corporation.

 7        3.     I am also the President of Cellular Communications Equipment LLC
 8 (“CCE”), a subsidiary of ARC.

 9        4.     I am generally familiar with CCE’s patent infringement case against
10 HMD Global Oy (“HMD”), filed on or about March 17, 2020.

11        5.     I have reviewed and am generally familiar with the subpoena issued to
12 ARC on or about September 25, 2020.

13        6.     I have also reviewed HMD’s Application for Leave to File Under Seal
14 in connection with its Motion to Compel Production of Documents from ARC, filed

15 on or about December 21, 2020.

16        7.     The following materials included in HMD’s Application for Leave to
17 File Under Seal (listed by their exhibit labels in HMD’s Declaration of Maissa

18 Chouraki (“Chouraki Dec.”), filed alongside the application) should be sealed in

19 their entirety:

20               • Ex. A – License and Covenant-Not-to-Sue Agreement (the “LG
21                   Agreement”), executed between ARC and LG Electronics, Inc.
22                   (“LG”) on July 30, 2016.
23               • Ex. FF – Patent Purchase Agreement (the “PPA”), executed between
24                   Acacia Research Group (“ARG”) and Nokia Siemens Networks
25                   B.V. (“NSN”) on December 21, 2012.
26               • Ex. GG – First Amendment to the PPA, executed between NSN and
27                   CCE on March 24, 2014.
28               • Ex. HH – Second Amendment to the PPA, executed between NSN


                                                1
     DECLARATION OF ERIC LUCAS
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 1                 and CCE on April 29, 2014.
 2              • Ex. II – Third Amendment to the PPA, executed between NSN and
 3                 CCE on May 30, 2014.
 4              • Ex. JJ – Fourth Amendment to the PPA, executed between NSN and
 5                 CCE on December 24, 2014.
 6              • Ex. KK – Fifth Amendment to the PPA, executed between NSN and
 7                 CCE on January 10, 2017.
 8        8.    Additionally, the following materials included in HMD’s Application
 9 for Leave to File Under Seal (listed by their exhibit labels in the Chouraki Dec.),
10 filed alongside the application) include information from the documents listed in ¶

11 7 and should be redacted as proposed in HMD’s Application:

12              • Ex. B – HMD’s Motion to Dismiss, filed on September 21, 2020.
13              • Ex. C – CCE’s Response to HMD’s Motion to Dismiss, filed on
14                 October 5, 2020.
15              • Ex. D – HMD’s Reply to CCE’s Response, filed on October 13,
16                 2020.
17              • Ex. E – CCE’s Sur-reply to HMD’s Reply, filed on October 21, 2020.
18              • Ex. F – HMD’s Subpoena to ARC, dated September 25, 2020.
19              • Ex. G – ARC’s Objections and Responses to HMD’s Subpoena,
20                 dated October 9, 2020.
21              • Ex. H – October 16, 2020 Letter from Jennifer Kash to Jonathan
22                 Rastegar regarding HMD’s Subpoena.
23              • Ex. I – October 26, 2020 Letter from Jennifer Kash to Jonathan
24                 Rastegar regarding HMD’s Subpoena.
25              • Ex. K – October 28, 2020 Letter from Jennifer Kash to Jonathan
26                 Rastegar regarding HMD’s Subpoena.
27              • Ex. L – November 3, 2020 Letter from Jennifer Kash to Jonathan
28                 Rastegar regarding HMD’s Subpoena.


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     DECLARATION OF ERIC LUCAS
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 1               • Ex. R – November 12, 2020 Letter from Jonathan Rastegar to
 2                  Jennifer Kash regarding HMD’s Subpoena.
 3               • Ex. S – HMD’s Proposed Joint Stipulation Regarding Motion to
 4                  Compel Production of Documents from ARC, served on November
 5                  16, 2020.
 6               • Ex. T – November 20, 2020 Letter from Jeffrey Bragalone on behalf
 7                  of CCE to Jennifer Kash regarding disclosure of documents in
 8                  HMD’s Proposed Joint Stipulation.
 9               • Ex. W – November 20, 2020 Letter from Jeffrey Bragalone on
10                  behalf of ARC and CCE to Jennifer Kash regarding disclosure of
11                  documents in HMD’s Proposed Joint Stipulation.
12               • Ex. X – HMD’s Opposition to CCE’s Motion to Enforce the
13                  Protective Order, filed on December 2, 2020.
14               • Ex. Y – CCE’s Reply to HMD’s Opposition, filed on December 4,
15                  2020.
16               • Ex. Z – HMD’s Sur-reply to CCE’s Reply, filed on December 7,
17                  2020.
18        9.     In the underlying lawsuit, CCE marked the documents listed in ¶¶ 7 and
19 8 (the “Designated Material”) as HIGHLY CONFIDENTIAL – OUTSIDE

20 ATTORNEY’S EYES ONLY pursuant to the Protective Orders entered by the

21 Eastern District of Texas in that case. A copy of the Protective Order is attached

22 hereto as Exhibit A and a copy of the Stipulated Supplemental Protective Order is

23 attached hereto as Exhibit B.

24        10.    On December 16, 2020, the Eastern District of Texas, in resolving a
25 dispute between CCE and HMD regarding the Designated Material, issued an order

26 requiring that the Designated Material be filed under seal. See Cellular

27 Communications Equipment LLC v. HMD Global Oy, C.A. No. 2:20-cv-00078- JRG,

28 Dkt. No. 78 (“E.D. Texas Order”) at 2. A copy of this order is attached hereto as


                                             3
     DECLARATION OF ERIC LUCAS
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 1 Exhibit C.

 2        11.    Additionally, the Memorandum of Law in Support of Motion by HMD
 3 Global Oy to Compel Production of Documents from Acacia Research

 4 Corporation and should be redacted as proposed in the highlighted version

 5 attached as Exhibit D to this declaration.

 6        12.    CCE’s designation of the highlighted information in Exhibit D is
 7 necessary and proper, and there is good cause for the highlighted sections to be filed

 8 under seal. The material relates to highly confidential patent licensing negotiations

 9 and agreements with third parties that are required to be maintained confidential
10 pursuant to contractual obligations. The LG Agreement contains the confidential

11 terms of an agreement between ARC and LG that was the result of confidential

12 contract negotiations after patent infringement litigation. The PPA and its

13 amendments contain the confidential terms of a patent purchase that was negotiated

14 between ARG, NSN, and CCE. The information within these documents has been

15 maintained confidential pursuant to agreements with these third parties – each of

16 these agreements explicitly contains terms requiring that they only be disclosed

17 under protective orders. Disclosure of such licensing and purchase negotiations and

18 agreements would reveal sensitive business information regarding licensing

19 structures for various licenses and intellectual property.

20        13.    CCE’s designation of the Designated Material as HIGHLY
21 CONFIDENTIAL – OUTSIDE ATTORNEY’S EYES ONLY was necessary and

22 proper, and there is good cause for the Designated Material to be filed under seal.

23 The material relates to highly confidential patent licensing negotiations and

24 agreements with third parties that are required to be maintained confidential pursuant

25 to contractual obligations. The LG Agreement contains the confidential terms of an

26 agreement between ARC and LG that was the result of confidential contract

27 negotiations after patent infringement litigation. The PPA and its amendments

28 contain the confidential terms of a patent purchase that was negotiated between


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     DECLARATION OF ERIC LUCAS
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 1 ARG, NSN, and CCE. The information within these documents has been maintained

 2 confidential pursuant to agreements with these third parties – each of these

 3 agreements explicitly contains terms requiring that they only be disclosed under

 4 protective orders. Disclosure of such licensing and purchase negotiations and

 5 agreements would reveal sensitive business information regarding licensing

 6 structures for various licenses and intellectual property.

 7         14.   ARC and CCE have maintained the confidentiality of the Designated
 8 Material. These documents have never been produced in litigation without the

 9 protections of a protective order or non-disclosure agreement. Public disclosure of
10 these documents would have an adverse impact on ARC and CCE. For example, if

11 this information were made available publicly, it would be a significant obstacle to

12 negotiating future licensing agreements with potential licensees who engage in such

13
     negotiations and enter such agreements conditioned upon confidentiality. Further,
14
     public disclosure of these documents would be contrary to the terms negotiated with
15
     non-parties LG and NSN, who are direct competitors of HMD and specifically
16
     negotiated terms requiring protective orders.
17

18         I declare under penalty of perjury that the foregoing is true and correct.
19

20

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22 Executed on December 31, 2020

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     DECLARATION OF ERIC LUCAS
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                                 EXHIBIT A




                                                                       6
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   CELLULAR COMMUNICATIONS                               §
   EQUIPMENT LLC,                                        §
                                                         §
                   Plaintiff,                            §
                                                         §
   v.                                                    §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                         §
   HMD GLOBAL OY,                                        §
                                                         §
                   Defendant.                            §

                                        PROTECTIVE ORDER

          WHEREAS, Plaintiff Cellular Communications Equipment LLC and Defendant HMD

   Global Oy, hereafter referred to as “the Parties,” believe that certain information that is or will be

   encompassed by discovery demands by the Parties involves the production or disclosure of trade

   secrets, confidential business information, or other proprietary information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

   with Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

   1.       Each Party may designate as confidential for protection under this Order, in whole or in

           part, any document, information or material that constitutes or includes, in whole or in

           part, confidential or proprietary information or trade secrets of the Party or a Third Party

           to whom the Party reasonably believes it owes an obligation of confidentiality with respect

           to such document, information or material (“Protected Material”). Protected Material shall

           be designated by the Party producing it by affixing a legend or stamp on such document,

           information or material as follows: “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL -

           ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE.”

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          The word(s) “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

          ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE shall be placed clearly on

          each page of the Protected Material (except deposition and hearing transcripts) for which

          such protection is sought. For deposition and hearing transcripts, the word(s)

          “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or

          “HIGHLY CONFIDENTIAL - SOURCE CODE” shall be placed on the cover page of the

          transcript (if not already present on the cover page of the transcript when received from

          the court reporter) by each attorney receiving a copy of the transcript after that attorney

          receives notice of the designation of some or all of that transcript as “CONFIDENTIAL.”

   2.     Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

          Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes

          Only” shall receive the same treatment as if designated “HIGHLY CONFIDENTIAL -

          ATTORNEYS’ EYES ONLY” under this Order, unless and until such document is

          redesignated to have a different classification under this Order.

   3.     With respect to documents, information, or material designated “CONFIDENTIAL,

          “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY

          CONFIDENTIAL - SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the

          provisions herein and unless otherwise stated, this Order governs, without limitation: (a)

          all documents, electronically stored information, and/or things as defined by the Federal

          Rules of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents




   1
     The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
   class of materials designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL -
   ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE,” both
   individually and collectively.
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          marked as exhibits or for identification in depositions and hearings; (c) pretrial pleadings,

          exhibits to pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

          reproductions, extracts, digests and complete or partial summaries prepared from any

          DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

          treated as such under this Order.

   4.     A    designation    of   Protected    Material    (i.e.,   “CONFIDENTIAL,”          “HIGHLY

          CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL -

          SOURCE CODE”) may be made at any time. Inadvertent or unintentional production of

          documents, information or material that has not been designated as DESIGNATED

          MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

          treatment. Any party that inadvertently or unintentionally produces Protected Material

          without designating it as DESIGNATED MATERIAL may request destruction of that

          Protected Material by notifying the recipient(s), as soon as reasonably possible after the

          producing Party becomes aware of the inadvertent or unintentional disclosure, and

          providing replacement Protected Material that is properly designated. The recipient(s)

          shall then destroy all copies of the inadvertently or unintentionally produced Protected

          Materials and any documents, information or material derived from or based thereon.

   5.     “CONFIDENTIAL” documents, information and material may be disclosed only to the

          following persons, except upon receipt of the prior written consent of the designating

          party, upon order of the Court, or as set forth in paragraph 12 herein:

              (a)     outside counsel of record in this Action for the Parties;

              (b)     employees of such counsel assigned to and reasonably necessary to assist such
                      counsel in the litigation of this Action;




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            (c)      in-house counsel for the Parties, including outside counsel performing the
                     functions of in-house counsel, who either have responsibility for making
                     decisions dealing directly with the litigation of this Action, or who are assisting
                     outside counsel of record in the litigation of this Action, provided that such in-
                     house and outside counsel complete the Undertaking attached as Appendix A
                     hereto and the same is served upon the producing Party;

            (d)      up to and including three (3) designated representatives of each of the Parties
                     to the extent reasonably necessary for the litigation of this Action, except that
                     either party may in good faith request the other party’s consent to designate
                     one or more additional representatives, the other party shall not unreasonably
                     withhold such consent, and the requesting party may seek leave of Court to
                     designate such additional representative(s) if the requesting party believes the
                     other party has unreasonably withheld such consent;

            (e)      outside consultants or experts (i.e., not existing employees or affiliates of a
                     Party or an affiliate of a Party) retained for the purpose of this litigation,
                     provided that: (1) such consultants or experts are not presently employed by
                     the Parties hereto for purposes other than this Action; (2) before access is
                     given, the consultant or expert has completed the Undertaking attached as
                     Appendix A hereto and the same is served upon the producing Party with a
                     current curriculum vitae of the consultant or expert at least ten (10) days before
                     access to the Protected Material is to be given to that consultant or Undertaking
                     to object to and notify the receiving Party in writing that it objects to disclosure
                     of Protected Material to the consultant or expert. The Parties agree to promptly
                     confer and use good faith to resolve any such objection. If the Parties are
                     unable to resolve any objection, the objecting Party may file a motion with the
                     Court within fifteen (15) days of the notice, or within such other time as the
                     Parties may agree, seeking a protective order with respect to the proposed
                     disclosure. The objecting Party shall have the burden of proving the need for a
                     protective order. No disclosure shall occur until all such objections are
                     resolved by agreement or Court order;

            (f)      independent litigation support services, including persons working for or as
                     court reporters, graphics or design services, interpreters or translators, jury or
                     trial consulting services, and photocopy, document imaging, and database
                     services retained by counsel and reasonably necessary to assist counsel with
                     the litigation of this Action; and

            (g)      the Court and its personnel.

   6.    A Party shall designate documents, information or material as “CONFIDENTIAL” only

         upon a good faith belief that the documents, information or material contains confidential

         or proprietary information or trade secrets of the Party or a Third Party to whom the Party

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         reasonably believes it owes an obligation of confidentiality with respect to such documents,

         information or material.

   7.    Documents, information or material produced pursuant to any discovery request in this

         Action, including but not limited to Protected Material designated as DESIGNATED

         MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

         be used for any other purpose. Any person or entity who obtains access to DESIGNATED

         MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

         duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

         portion thereof except as may be reasonably necessary in the litigation of this Action. Any

         such copies, duplicates, extracts, summaries or descriptions shall be classified

         DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

   8.    To the extent a producing Party believes that certain Protected Material qualifying to be

         designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

         limitation, the producing Party may designate such Protected Material “HIGHLY

         CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or to the extent such Protected

         Material includes computer source code and/or live data (that is, data as it exists residing

         in a database or databases) (“Source Code Material”), the producing Party may designate

         such Protected Material as “HIGHLY CONFIDENTIAL - SOURCE CODE.”

   9.    For Protected Material designated HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

         ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

         listed in paragraphs 5(a-c) and (e-g); provided, however, that access by in-house counsel

         pursuant to paragraph 5(c) be limited to in-house counsel who exercise no competitive

         decision-making authority on behalf of the client.



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   10.   For Protected Material designated HIGHLY CONFIDENTIAL - SOURCE CODE, the

         following additional restrictions apply:

         (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                computer(s) (that is, the computer may not be linked to any network, including a
                local area network (“LAN”), an intranet or the Internet). The stand-alone
                computer(s) may be connected to (i) a printer, or (ii) a device capable of temporarily
                storing electronic copies solely for the limited purposes permitted pursuant to
                paragraphs 10 (h and k) below. Additionally, except as provided in paragraph 10(k)
                below, the stand-alone computer(s) may only be located at the offices of the
                producing Party’s outside counsel;

         (b)    The receiving Party shall inform the producing Party of its intent to inspect the
                stand-alone computer(s) at least three days prior to any inspection. The receiving
                Party shall make reasonable efforts to restrict its requests for such access to the
                stand-alone computer(s) to normal business hours, which for purposes of this
                paragraph shall be 8:00 a.m. through 6:00 p.m., local time. However, upon
                reasonable notice from the receiving party, the producing Party shall make
                reasonable efforts to accommodate the receiving Party’s request for access to the
                stand-alone computer(s) outside of normal business hours. The Parties agree to
                cooperate in good faith such that maintaining the producing Party’s Source Code
                Material at the offices of its outside counsel shall not unreasonably hinder the
                receiving Party’s ability to efficiently and effectively conduct the prosecution or
                defense of this Action;

         (c)    The producing Party shall provide the receiving Party with information explaining
                how to start, log on to, and operate the stand-alone computer(s) in order to access
                the produced Source Code Material on the stand-alone computer(s);

         (d)    The producing Party will produce Source Code Material in native format on the
                stand-alone computer(s) as described above. The producing Party shall install tools
                that are sufficient for viewing the Source Code Material. The receiving Party’s
                outside counsel and/or experts/consultants may request that additional
                commercially available software tools be installed on the stand-alone computer,
                provided, however, that (a) the receiving Party provides an appropriate license to
                such software tools; (b) the producing Party approves such software tools; and (c)
                such other software tools are reasonably necessary for the receiving Party to
                perform its review of the Source Code Material consistent with all of the protections
                herein. The producing Party shall not unreasonably withhold approval of
                reasonable requests for additional commercially available software tools. The
                receiving Party must provide the producing Party with the CD, DVD, file path, or
                Advanced Package Tool package containing such licensed software tool(s) at least
                five (5) business days in advance of the date upon which the receiving Party wishes
                to have the additional software tools available for use on the standalone computer;



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          (e)     Access to Protected Material designated HIGHLY CONFIDENTIAL - SOURCE
                  CODE shall be limited to outside counsel and its employees and outside consultants
                  or experts2 (i.e., not existing employees or affiliates of a Party or an affiliate of a
                  Party) retained for the purpose of this litigation and approved to access such
                  Protected Materials pursuant to paragraph 5(e) above, as well as those individuals
                  in paragraphs 5(b), 5(f), and 5(g) above. A receiving Party may include excerpts of
                  Source Code Material in a pleading, exhibit, expert report, discovery document,
                  deposition transcript, other Court document, provided that the Source Code
                  Materials are appropriately marked under this Order, restricted to those who are
                  entitled to have access to them as specified herein, and, if filed with the Court, filed
                  under seal in accordance with the Court’s rules, procedures and orders;

          (f)     To the extent portions of Source Code Material are quoted in a Source Code
                  Document, either (1) the entire Source Code Document will be stamped and treated
                  as HIGHLY CONFIDENTIAL - SOURCE CODE or (2) those pages containing
                  quoted Source Code Material will be separately stamped and treated as HIGHLY
                  CONFIDENTIAL - SOURCE CODE;

          (g)     Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
                  Material shall be made without prior written consent of the producing Party, except
                  as necessary to create documents which, pursuant to the Court’s rules, procedures
                  and order, must be filed or served electronically;

          (h)     The receiving Party shall be permitted to make three sets of printouts (including
                  two sets of photocopies) of Source Code Material, all of which shall be designated
                  and clearly labeled “HIGHLY CONFIDENTIAL - SOURCE CODE,” and the
                  receiving Party shall maintain a log of all such files that are printed or photocopied.
                  The receiving Party may print no more than a reasonable number of pages, unless
                  otherwise agreed by the Parties, whose reasonable request for agreement shall not
                  be withheld. The producing Party must ensure that all printed pages must indicate
                  the original file name of the Source Code Material, and must additionally include
                  either page and line numbers for the printed Source Code Material where applicable
                  and/or some other coordinates or markers that identify the portion of the Source
                  Code Material printed. Upon printing any such portions of Source Code, the printed
                  pages shall be collected by the producing Party. The producing Party shall put Bates
                  and line numbers, copy, and clearly label as “HIGHLY CONFIDENTIAL -
                  SOURCE CODE” any pages printed by the receiving Party. Within three (3)
                  business days of a request for pages, the producing Party shall either (i) provide one
                  copy of such unobjected pages to the receiving Party and (ii) inform the requesting
                  Party of its objection, if any, that the printed portions withheld are excessive and/or
                  not done for a permitted purpose. Lead counsel shall meet and confer within four


   2
    For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
   consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
   consultant or expert who employs others within his or her firm to help in his or her analysis shall
   count as a disclosure to a single consultant or expert.
                                                     7

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                business days of any such objection. If, after a lead counsel meet and confer, the
                producing Party and the receiving Party cannot resolve the objection, the receiving
                Party may file a Motion to Compel Production with the Court;

         (i)    Should such printouts or photocopies be transferred back to electronic media, such
                media shall be labeled “HIGHLY CONFIDENTIAL - SOURCE CODE” and shall
                continue to be treated as such;

         (j)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
                photocopies of Source Code Material, the receiving Party shall ensure that such
                outside counsel, consultants, or experts keep the printouts or photocopies in a
                secured locked area in the offices of such outside counsel, consultants, or expert.
                The receiving Party may also temporarily keep the printouts or photocopies at: (i)
                the Court for any proceedings(s) relating to the Source Code Material, for the dates
                associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
                the Source Code Material are taken, for the dates associated with the deposition(s);
                and (iii) any intermediate location reasonably necessary to transport the printouts
                or photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

         (k)    A producing Party’s Source Code Material may only be transported by the
                receiving Party at the direction of a person authorized under paragraph 10(e) above
                to another person authorized under paragraph 10(e) above, on paper or removable
                electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry,
                Federal Express or other similarly reliable courier. Source Code Material may not
                be transported or transmitted electronically over a network of any kind, including a
                LAN, an intranet, or the Internet. Source Code Material may only be transported
                electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
                paragraph 10(j) above and is at all times subject to the transport restrictions set forth
                herein. But, for those purposes only, the Source Code Materials may be loaded onto
                a stand-alone computer.

   11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

         associated with a Party and permitted to receive the other Party’s Protected Material that

         is designated HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY and/or

         HIGHLY CONFIDENTIAL - SOURCE CODE (collectively “HIGHLY SENSITIVE

         MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

         part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

         prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

         application pertaining to the field of the invention of the patents-in-suit on behalf of the

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         receiving Party or its acquirer, successor, predecessor, or other affiliate during the

         pendency of this Action and for one year after its conclusion, including any appeals. For

         purposes of this paragraph, “prosecution” includes drafting, amending, advising, or

         otherwise affecting the scope or maintenance of patent claims. Prosecution includes, for

         example, original prosecution, reissue, and reexamination. To avoid any doubt,

         “prosecution” as used in this paragraph does not include representing a party in a

         proceeding that challenges a patent before a domestic or foreign agency (including, but not

         limited to, a reissue protest, ex parte reexamination, inter partes reexamination, post grant

         review, covered business method patent review, or inter partes review). To ensure

         compliance with the purpose of this provision, each Party shall create an “Ethical Wall”

         between those persons with access to HIGHLY SENSITIVE MATERIAL and any

         individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

         affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

         patent as described above.

   12.   Nothing in this Order shall require production of documents, information or other material

         that a Party contends is protected from disclosure by the attorney-client privilege, the work

         product doctrine, or other privilege, doctrine, or immunity. If documents, information or

         other material subject to a claim of attorney-client privilege, work product doctrine, or

         other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

         production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

         any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

         produces documents, information or other material it reasonably believes are protected

         under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or



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         immunity may obtain the return or destruction of such documents, information or other

         material by promptly notifying the recipient(s) and providing a privilege log for the

         inadvertently or unintentionally produced documents, information or other material. At the

         producing Party’s election, the recipient(s) shall, gather and destroy or return all copies of

         such documents, information or other material to the producing Party. In the event the

         producing Party elects return of the documents, any pages containing privileged or

         otherwise protected markings by the recipient(s) shall instead be destroyed and certified as

         such to the producing Party.

   13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

         to have access thereto to any person who is not authorized for such access under this Order.

         The Parties are hereby ORDERED to safeguard all such documents, information and

         material to protect against disclosure to any unauthorized persons or entities.

   14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

         DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

         that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

         have access to the DESIGNATED MATERIAL by virtue of his or her employment with

         the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

         addressee, or copy recipient of such information, (iii) although not identified as an author,

         addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

         course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

         director or employee of the producing Party or a current or former officer, director or

         employee of a company affiliated with the producing Party; (v) counsel for a Party,

         including outside counsel and in-house counsel (subject to paragraph 9 of this Order); (vi)



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         an independent contractor, consultant, and/or expert retained for the purpose of this

         litigation and has been approved to receive DESIGNATED MATERIAL pursuant to

         section 5(e); (vii) court reporters and videographers; (viii) the Court; or (ix) other persons

         entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

         shall not be disclosed to any other persons unless prior authorization is obtained from

         counsel representing the producing Party or from the Court.

   15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

         deposition or hearing transcript, designate the deposition or hearing transcript or any

         portion thereof as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEY’

         EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE” pursuant to this

         Order. Access to the deposition or hearing transcript so designated shall be limited in

         accordance with the terms of this Order. Until expiration of the 30-day period, the entire

         deposition or hearing transcript shall be treated as confidential.

   16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

         shall remain under seal until further order of the Court. The filing party shall be responsible

         for informing the Clerk of the Court that the filing should be sealed and for placing the

         legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

         caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

         the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

         or an exhibit thereto, discloses or relies on confidential documents, information or material,

         such confidential portions shall be redacted to the extent necessary and the pleading or

         exhibit filed publicly with the Court.




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   17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

         the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

         this Action, or from using any information contained in DESIGNATED MATERIAL at

         the trial of this Action, subject to any pretrial order issued by this Court.

   18.   A Party may request in writing to the other Party that the designation given to any

         DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

         agree to redesignation within ten (10) days of receipt of the written request, the requesting

         Party may apply to the Court for relief. Upon any such application to the Court, the burden

         shall be on the designating Party to show why its classification is proper. Such application

         shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

         Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

         application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

         of the Court shall be met. Pending the Court’s determination of the application, the

         designation of the designating Party shall be maintained.

   19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

         accordance with the terms of this Order shall be advised by counsel of the terms of this

         Order, shall be informed that he or she is subject to the terms and conditions of this Order,

         and shall sign an acknowledgment that he or she has received a copy of, has read, and has

         agreed to be bound by this Order. A copy of the acknowledgment form is attached as

         Appendix A.

   20.   To the extent that any discovery is taken of persons who are not Parties to this Action

         (“Third Parties”) and in the event that such Third Parties contended the discovery sought




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         involves trade secrets, confidential business information, or other proprietary information,

         then such Third Parties may agree to be bound by this Order.

   21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

         designate as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

         ONLY” any documents, information or other material, in whole or in part, produced or

         given by such Third Parties. The Third Parties shall have ten (10) days after production of

         such documents, information or other materials to make such a designation. Until that time

         period lapses or until such a designation has been made, whichever occurs sooner, all

         documents, information or other material so produced or given shall be treated as

         “CONFIDENTIAL” in accordance with this Order.

   22.   Within thirty (30) days of final termination of this Action, including any appeals, all

         DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

         summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

         incorporated into any privileged memoranda of the Parties and materials which have been

         admitted into evidence in this Action), shall at the producing Party’s election either be

         returned to the producing Party or be destroyed. The receiving Party shall verify the return

         or destruction by a letter furnished to the producing Party. Notwithstanding this provision,

         outside counsel for the Parties may retain one set of pleadings, correspondence, and

         attorney and consultant work product (but not document productions) for archival

         purposes, but must return or destroy any pleadings, correspondence, and consultant work

         product that contain Source Code Material.

   23.   The failure to designate documents, information or material in accordance with this Order

         and the failure to object to a designation at a given time shall not preclude the filing of a



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         motion at a later date seeking to impose such designation or challenging the propriety

         thereof. The entry of this Order and/or the production of documents, information and

         material hereunder shall in no way constitute a waiver of any objection to the furnishing

         thereof, all such objections being hereby preserved.

   24.   Any Party knowing or believing that any other party is in violation of or intends to violate

         this Order and has raised the question of violation or potential violation with the opposing

         party and has been unable to resolve the matter by agreement may move the Court for such

         relief as may be appropriate in the circumstances. Pending disposition of the motion by the

         Court, the Party alleged to be in violation of or intending to violate this Order shall

         discontinue the performance of and/or shall not undertake the further performance of any

         action alleged to constitute a violation of this Order.

   25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

         publication of the documents, information and material (or the contents thereof) produced

         so as to void or make voidable whatever claim the Parties may have as to the proprietary

         and confidential nature of the documents, information or other material or its contents.

   26.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

         kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

   27.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

         this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

         entities if reasonably necessary to prepare and present this Action and (b) to apply for

         additional protection of DESIGNATED MATERIAL.




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      So ORDERED and SIGNED this 14th day of August, 2020.




                                                 ____________________________________
                                                 RODNEY GILSTRAP
                                                 UNITED STATES DISTRICT JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

    CELLULAR COMMUNICATIONS                         §
    EQUIPMENT LLC,                                  §
                                                    §
                 Plaintiff,                         §
                                                    §
    v.                                              §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                    §
    HMD GLOBAL OY,                                  §
                                                    §
                 Defendant.                         §

                                APPENDIX A
             UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                            PROTECTIVE ORDER

         I, ___________________________________________, declare that:

   1.    My address is _________________________________________________________. My

         current employer is _________________________________________________. My

         current occupation is ________________________________________________.

   2.    I have received a copy of the Protective Order in this action. I have carefully read and

         understand the provisions of the Protective Order.

   3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

         will not disclose to anyone not qualified under the Protective Order, and will use only for

         purposes of this action any information designated as “CONFIDENTIAL,” “HIGHLY

         CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL -

         SOURCE CODE” that is disclosed to me.

   4.    Promptly upon termination of these actions, I will return all documents and things

         designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES



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         ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE CODE” that came into my

         possession, and all documents and things that I have prepared relating thereto, to the

         outside counsel for the party by whom I am employed.

   5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

         Protective Order in this action.

         I declare under penalty of perjury that the foregoing is true and correct.



   Signature ________________________________________

   Date ____________________________________________




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                                 EXHIBIT B




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    CELLULAR COMMUNICATIONS                          §
    EQUIPMENT LLC,                                   §
                                                     §
                   Plaintiff,                        §
                                                     §
    v.                                               §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                     §
    HMD GLOBAL OY,                                   §
                                                     §
                   Defendant.                        §

     STIPULATED SUPPLEMENTAL PROTECTIVE ORDER REGARDING CERTAIN
                  NON-PARTY CONFIDENTIAL INFORMATION

          WHEREAS, The Honorable Judge Rodney Gilstrap entered a Protective Order in this

   matter on August 14, 2020 to govern discovery in the above-captioned matter (Dk. No. 31, the

   “Protective Order”);

          WHEREAS, Plaintiff Cellular Communications Equipment LLC (“Plaintiff”) and

   Defendant HMD Global Oy (“Defendant”) (collectively, the “Parties”) may produce documents

   that include or incorporate confidential non-party information;

          WHEREAS, a Party may be contractually obligated to produce certain documents that

   include or incorporate confidential non-party information pursuant to a confidentiality designation

   of Outside Attorneys’ Eyes Only;

          IT IS HEREBY ORDERED that documents which a Party is contractually obligated to

   produce with confidentiality designation of Outside Attorneys’ Eyes Only or higher, may be

   designated as “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.” The

   Definition of Protected Material in the Protective Order shall include documents designated as

   “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.”




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          “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” documents,

   information, and material may be disclosed only to the persons identified in Paragraph 5(a-b) and

   (e-g) of the Protective Order, except upon receipt of the prior written consent of the designating

   party, upon order of the Court, or as set forth in paragraph 12 of the Protective Order.

         So ORDERED and SIGNED this 9th day of September, 2020.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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                                 EXHIBIT C




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

    CELLULAR COMMUNICATIONS                             §
    EQUIPMENT LLC,                                      §
                                                        §
                    Plaintiff,                          §
                                                        §
    v.                                                  §   CIVIL ACTION NO. 2:20-CV-00078-JRG
                                                        §
    HMD GLOBAL OY,                                      §
                                                        §
                    Defendant.                          §

                                                  ORDER

            Before the Court is Plaintiff Cellular Communications Equipment LLC’s (“CCE”) Motion

   to Enforce the Protective Orders (the “Motion”). (Dkt. No. 68). In the same, CCE seeks an order

   preventing Defendant HMD Global OY (“HMD”) from filing certain documents subject to the

   Court’s Protective Order (Dkt. No. 31) in the United States District Court for the Central District

   of California. (Id. at 1).

            HMD served a third-party subpoena under Federal Rule of Civil Procedure 45(c)(2)(A) on

   CCE’s corporate parent, Acacia Research Corporation (“ARC”), on September 25, 2020. (Dkt.

   No. 70, at 4). According to HMD, ARC did not produce the requested documents. (Id.). HMD

   seeks to compel discovery in the district court local to ARC, the Central District of California.

   (Id.).

            The Local Rules of the Central District of California require parties to file with any motions

   to compel a joint stipulation framing the issues in dispute. C.D. Cal. R. 37-2. “If the allegations

   made in a prior filing are relevant, a copy of that prior filing should be attached as an exhibit.”

   C.D. Cal. R. 37-2.1. HMD contends that this Local Rule requires certain filings and documents

   from the above-captioned matter to be filed in the joint stipulation. (Dkt. No. 70, at 4–5). CCE



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   contends that such a filing in the Central District of California would violate this Court’s Protective

   Order. (Dkt. No. 68, at 7–8).

          The Court is mindful of the need to avoid interfering with a sister Court’s resolution of this

   discovery dispute on the merits. In view of the foregoing, it is ORDERED that the parties have

   leave to file such papers in the Central District of California as is necessary to comply with that

   Court’s Local Rules to facilitate that Court’s resolution of this discovery dispute. It is further
       .
   ORDERED that such papers shall be filed UNDER SEAL pursuant to that Court’s procedures.

   The parties are further directed to furnish a copy of this Order to the Clerk of the Central District

   of California. Nothing in this Order shall be construed as limiting the application or enforceability

   of the Protective Order in this case, and the papers filed in the Central District of California remain

   subject to this Court’s Protective Order in all other respects.1

          In view of such leave being granted, CCE’s Motion is DENIED.

          So ORDERED and SIGNED this 16th day of December, 2020.




                                                               ____________________________________
                                                               RODNEY GILSTRAP
                                                               UNITED STATES DISTRICT JUDGE




   1
           As CCE and ARC are jointly represented by the same counsel in this matter
   (see, e.g., Opp. Ex. O, Dkt. No. 70-17), the practical effect of this Order does not go beyond
   permitting persons already subject to the Protective Order to litigate before a sister Court.
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                                 EXHIBIT D
         CONTAINS INFORMATION THAT IS HIGHLY
                    CONFIDENTIAL




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  Attorneys for HMD Global Oy


                        UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
  ___________________________________
                                      )     Case No. 8:20-mc-127
  HMD GLOBAL OY,                      )
                                      )     MEMORANDUM OF LAW IN
     Movant,                          )     SUPPORT OF MOTION BY HMD
                                      )     GLOBAL OY TO COMPEL
  v.                                  )     PRODUCTION OF DOCUMENTS
                                      )     FROM ACACIA RESEARCH
  ACACIA RESEARCH CORPORATION, )            CORPORATION
                                      )
     Respondent.                      )
                                      )     Judge: [TBD]
                                      )     Date: [TBD]
                                      )     Time: [TBD]
                                      )     Place: [TBD]
                                      )     Discovery Cutoff: March 18, 2021
                                      )     Pretrial Conference: June 29, 2021
  ___________________________________ )     Trial Date: August 2, 2021




                                             CONFIDENTIAL



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                                        MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL
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                                      INTRODUCTION
        The question before this Court is simple: must Acacia Research Corporation
  produce documents showing whether its wholly owned subsidiary, Cellular
  Communications Equipment LLC, has standing to pursue claims of infringement in its
  underlying litigation against HMD Global Oy? The answer is “yes.” ARC seems to know
  this, because it has done everything it can to avoid this question. First, ARC claimed that
  HMD Global could not even seek discovery on CCE’s standing, because ARC believes
  that CCE does have standing. ARC’s supporting logic was risible—it claimed that an
  agreement between ARC and LG entitled “License and Covenant Not to Sue Agreement”
  and containing a section called “License Grant” that explicitly grants a license using the
  words “license” and “grant” is somehow not a license agreement—but better arguments
  would not help ARC, because that is not how discovery works: if a party could avoid
  discovery because it disagreed with an underlying claim, there would be no discovery.
        Next, ARC claimed that discovery would be burdensome, but never provided any
  specific information to back up this claim, despite multiple opportunities to do so. Nor
  would such information help ARC in any event, since ARC itself created any burdens it
  now claims through its own record-keeping decisions, and did so while obligated to
  preserve relevant documents for litigation. ARC, a sophisticated litigant in the business of
  litigation, cannot engineer its way out of production obligations through its own decisions.
        Finally, and most troublingly, ARC refused to participate in the joint stipulation
  process required by this Court, while its subsidiary CCE, represented by the same counsel,
  asked the Eastern District of Texas, which presides over the underlying litigation, to block
  HMD Global from bringing this motion. Even worse, CCE did so by attacking this Court,
  which it repeatedly called an “unknown court,” and by arguing that disclosing confidential
  documents to this Court’s own personnel “could prove disastrous” to ARC and CCE. Of
  course ARC and CCE could not support their slurs on this Court and its personnel, and the
  Eastern District of Texas properly ruled that HMD Global could file this motion, seeking
  in ARC’s home Court documents maintained at ARC’s sole office, within this District.
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        After all of ARC and CCE’s attempts to distract attention from the man behind the
  curtain, the question before this Court remains: must ARC produce documents showing
  whether its wholly owned subsidiary CCE has standing to pursue its claims on
  infringement in its underlying litigation against HMD Global Oy? The answer to this
  question remains “yes,” and so this Court should grant HMD Global’s motion to compel.
                                       BACKGROUND
  A.    ARC is a Sophisticated Litigant in the Business of Litigation
        Respondent Acacia Research Corporation (“ARC”) is a sophisticated litigant in the
  business of Federal litigation. As a patent monetization company, ARC admits in public
  filings, “often we must resort to litigation,” and that monetization effort “often begins with
  the filing of patent infringement litigation” rather than a licensing request not backed by a
  Federal complaint. Declaration of Maissa Chouraki Ex. BB at 4, 2. (Further exhibit
  citations are to the same declaration.) As a result, ARC spends “a significant amount of
  our financial and management resources to pursue our current litigation matters.” Id. at 8.
  In 2020 alone, Acacia and its subsidiaries have filed 11 district court cases. Ex. CC. In
  2016, when ARC executed the “License and Covenant Not to Sue Agreement” with LG,
  ARC and its subsidiaries filed 14 district court cases. Ex. DD. Over the last twenty years,
  ARC and its subsidiaries have filed 1,430 district court cases. Ex. EE. Litigation is
  essential to ARC’s business, and ARC’s business is essentially litigation.
  B.    The License and Covenant Not to Sue Agreement
        On July 30, 2016, ARC and LG Electronics executed their “License and Covenant
  Not to Sue Agreement.” Ex. A. The “License and Covenant Not to Sue Agreement,”
  executed only by ARC and LG, granted LG a license to the ’923 patent at issue in the
  underlying litigation (among others) in Section 2.3, entitled “License Grant to Company
  [LG] for Acacia Licensed Patents.” Id. at 4. It states that “ARC and any required Acacia
  Entities expressly grant to Company and its Affiliates a fully paid-up, royalty-free,
  worldwide, irrevocable, non-exclusive, and non-transferable” license, id., confirming that
  the license definitely flows from ARC itself but only maybe, and only in addition, from
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  “any required Acacia Entities” such as CCE. Elsewhere in the “License and Covenant Not
  to Sue Agreement,” ARC states that “Acacia collectively has the right to grant the licenses
  and and covenants herein under such Acacia Patents,” confirming that CCE at minimum
  does not hold this right exclusively, but “collectively” with its parent ARC. Id., § 6.1.1.
  The “License and Covenant Not to Sue Agreement” states that LG should pay its license
  fee directly to ARC, and provides wire instructions for payment to ARC’s bank account.
  Id. §§ 4.1, 4.2, Schedule A. ARC’s protests aside, the “License and Covenant Not to Sue
  Agreement” between ARC and LG sure looks like a license from ARC to LG.
  C.    The Underlying Action
        On March 17, 2020, Cellular Communications Equipment LLC (“CCE”) sued HMD
  Global for infringement of a single patent, U.S. Patent No. 7,218,923 (“the ’923 patent”).
  Cellular Communications Equipment LLC v. HMD Global Oy, Case No. 20-78, Docket
  No. 1 (E.D. Tex. March 17, 2020). On August 10, 2020, CCE effected service on HMD
  Global through the Hague Convention. Id., Docket No. 30 (E.D. Tex. Aug. 10, 2020).
  D.    HMD Global’s Motion to Dismiss for Lack of Standing
        On September 17, 2020, CCE produced licenses covering the ’923 patent including
  the “License and Covenant Not to Sue Agreement.” On September 21, HMD Global
  moved to dismiss on grounds including CCE’s lack of standing to sue. Ex. B. HMD
  Global argued that a plaintiff such as CCE “lacks standing to sue a party who has the
  ability to obtain such a license from another party with the right to grant it.” WiAV Sols.
  LLC v. Motorola Inc., 631 F.3d 1257, 1266 (Fed. Cir. 2010); see also, e.g., Acceleration
  Bay LLC v. Activision Blizzard, Inc., No. 16-453, 2017 WL 3668597, at *3 (D. Del. Aug.
  24, 2017). HMD Global explained that, because ARC can grant a license without CCE (as
  it did to LG), CCE cannot establish that it has the right to exclude others from practicing
  the ’923 patent, and thus lacks standing to sue for infringement. Ex. B at 2-4, 7-11; Ex. D
  at 1-8; Ex. A. Opposing, CCE made the striking claim that the “License and Covenant Not
  to Sue Agreement” did not “not purport to license the ʼ923 patent to LG” but merely
  “recited a desire for CCE to grant LG a license.” Ex. C at 6, 7. CCE has never produced
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  any later-granted license from CCE to LG, even though CCE dismissed its litigation
  against LG promptly after ARC executed the “License and Covenant Not to Sue
  Agreement.” The parties briefed this motion, Exs. C, D, E, which remains pending.
  E.    The Starboard Security Interest May Further Undermine CCE’s Standing
        HMD Global discovered publicly available filings that further questioned CCE’s
  standing. A “Patent Security Agreement” filed with the Patent and Trademark Office
  granted Starboard a security interest in the ʼ923 patent. A “Release of Security Interest in
  Patents” filed with the P.T.O. shows that on June 30, Starboard rescinded its security
  interest. These transactions may independently undermine CCE’s standing in its case.
  F.    HMD Global Subpoenas CCE’s Parent ARC at its Home, in This District
        On September 25, HMD Global served ARC with a subpoena, Ex. F, for documents
  regarding the “License and Covenant Not to Sue Agreement” and the security interest:
  ●     documents concerning the “License and Covenant Not to Sue Agreement” and other
        agreements in which ARC licensed patents of its subsidiaries (Requests 1-12);
  ●     documents concerning actual or potential agreements concerning the ’923, its
        ownership, or valuations of the ’923 or any portfolio including it (Requests 13-15);
  ●     documents concerning the relationship between ARC and CCE (Requests 16-17);
  ●     documents concerning the security interest and its release (Requests 18-23); and
  ●     documents concerning litigation concerning the ’923 patent (Requests 24-26).
  On October 9, 2020, ARC served objections and responses to the subpoena, in which it
  refused to produce a single document. Ex. G.
  G.    ARC Refuses to Participate in This Court’s Joint Stipulation Process
        On October 16, HMD Global sought to meet and confer on the subpoena. Ex. H.
  HMD Global and ARC had two lengthy telephone conferences, and exchanged multiple
  letters and emails regarding the subpoena. Exs. I, J, K. ARC continued to refuse to
  produce a single document. On November 3, HMD Global triggered Local Rule 37-1 with
  a detailed letter, giving ARC had ten days to conduct a final conference. Ex. L. After still
  more letters (Exs. M, N, O), ARC agreed to meet and confer on November 13, the last
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  possible day. Ex. P, Q, R. The parties conferred by telephone for a third and final time.
  On November 16, HMD Global served its portion of a draft joint stipulation, along with
  “all declarations and exhibits to be offered in support of the moving party’s position,” as
  required by Local Rule 37-2.2. Ex. S. ARC had a week, until Monday, November 23, to
  return its “portion of the stipulation, together with all declarations and exhibits to be
  offered in support of the moving party’s position.” Loc. R. 37-2.2.
        On Friday, November 20, the last business day before ARC’s deadline to submit its
  portion of the joint stipulation, ARC and CCE sought to derail HMD Global’s motion.
  Represented by the same counsel, ARC and CCE wrote tandem letters to HMD Global:
  CCE claimed for the first time that the Eastern District of Texas protective order governing
  confidentiality barred disclosure of “confidential information produced by CCE in this
  Action to a Central District of California court or its personnel” (Ex. T), while ARC
  refused to provide its portion of the joint stipulation on the grounds that “it is improper to
  file the joint stipulation that would result in such violation.” Ex. U. CCE filed a “Motion
  to Enforce” the Eastern District protective order before that Court, including troubling
  claims about the trustworthiness of this Court. CCE repeatedly called this Court an
  “unknown court,” Ex. W at 1, 5, 7, 8, 11, and claimed that disclosure of information to its
  judges and other personnel “could prove disastrous” to ARC and CCE. Id. at 8. CCE and
  HMD Global briefed this issue, Exs. W, X, Y, Z, and last week the Eastern District denied
  CCE’s motion, ruling that HMD Global may file papers here “as is necessary to comply
  with that Court’s Local Rules to facilitate that Court’s resolution of this discovery dispute,”
  and ordering CCE and HMD Global to provide this Court with a copy of the order. Ex. V.
                                          ARGUMENT
  I.    Parties May Seek Discovery That is Relevant and Proportional to the Case
        Rule 26(b)(1) permits discovery “regarding any nonprivileged matter that is relevant
  to any party’s claim or defense” so long as it is “proportional to the needs of the case.” “A
  ‘relevant matter’ under Rule 26(b)(1) is any matter that ‘bears on, or that reasonably could
  lead to other matters that could bear on, any issue that is or may be in the case.’ Relevancy
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  should be ‘construed “liberally and with common sense” and discovery should be allowed
  unless the information sought has no conceivable bearing on the case.’” Dale Evans
  Parkway 2012, LLC v. Nat’l Fire & Marine Ins. Co., Case No. 15-979, 2016 WL 7486606,
  at *3 (C.D. Cal. Oct. 27, 2016) (citations omitted). “Under the general relevance
  requirements set forth in Rule 26(b), [a] subpoena may command the production of
  documents that are ‘nonprivileged’ and are ‘relevant to any party’s claim or defense.’” Id.
  (quoting Fed. R. Civ. P. 26(b)(1)).
  II.   ARC Cannot Block Discovery Because it Disagrees with HMD Global’s Claims
        ARC argues that all or nearly all of HMD Global’s requested discovery is improper
  because, in ARC’s view, HMD Global will eventually lose the legal issue which those
  documents might inform. Specifically, in its letter of November 12, ARC states:
        ARC has never been party to any agreement that assigned it rights in the ʼ923
        patent. Thus, by law, ARC does not have the right to license the ʼ923 patent.
        Accordingly, even if, as you contend, the LG Agreement attempted to license the
        ʼ923 patent (it did not), the agreement is not in itself a written instrument that
        conveys to ARC any rights in the ’923 patent. No amount of parole (sic) evidence
        or materials regarding the course of dealing can change the fact that, by law, ARC
        does not have the right to license the ʼ923 patent. As such, the materials covered by
        Request Nos. 1-12 are irrelevant and intended merely to harass ARC.
  Ex. R. In other words, ARC argues that because it believes it will eventually win the
  underlying dispute, it would be “irrelevant and intended merely to harass ARC” for HMD
  Global to obtain discovery that might show that ARC should lose the underlying dispute.
        Even setting aside the factual problems with this argument—which depends on the
  contention that the “License and Covenant Not to Sue Agreement,” which contains an
  explicit grant of a license using the actual words “license” and “grant”—is somehow not
  actually a license agreement—that is not how discovery works. “The obvious and overall
  purpose of discovery under the Federal Rules of Civil Procedure is to require disclosure of
  all relevant information, so that the ultimate resolution of disputed issues is based on a full
  and accurate understanding of the facts and therefore embodies a fair and just result.”
  Inland Concrete Enters., Inc. v. Kraft Ams., L.P., Case No. 10-1776, 2011 WL 13209258,
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  at *2 (C.D. Cal. May 12, 2011) (citing United States v. Procter & Gamble Co., 356 U.S.
  677, 682 (1958)). If a target of discovery could escape its obligations to produce
  documents by claiming that its side would ultimately win the underlying dispute, there
  would be no discovery. Castelan-Gutierrez v. Bodega Latina Corp., Case No. 17-1877,
  2018 WL 4050493, at *2 (D. Nev. Mar. 30, 2018) (“The mere fact that a party may
  articulate some legal argument that may allow it to prevail on a particular claim, even
  when presented in a currently-pending dispositive motion, is simply insufficient to justify
  denying discovery to its opponent.”). Indeed, the “Federal Rules of Civil Procedure do not
  provide for automatic or blanket stays of discovery when a potentially dispositive motion
  is pending,” Infanzon v. Allstate Ins. Co., 335 F.R.D. 305, 312 (C.D. Cal. 2020) (quoting
  Tradebay, LLC v. eBay, Inc., 278 F.R.D. 597, 600 (D. Nev. 2011)), and discovery will
  proceed unless the “party seeking a stay of discovery carries a heavy burden of making a
  ‘strong showing’ why discovery should be denied.” Soundgarden v. UMG Recordings,
  Inc., Case No. 19-5449, 2019 WL 10093965, at *6 (C.D. Cal. Dec. 2, 2019) (quoting
  Skellerup Indus. Ltd. v. City of Los Angeles, 163 F.R.D. 598, 600 (C.D. Cal. 1995)); see
  also Las Vegas Sun, Inc. v. Adelson, Case No. 19-1667, 2020 WL 2114352, at *5 (D. Nev.
  May 4, 2020) (“Generally, there must be no question in the court's mind that the
  dispositive motion will prevail, and therefore, discovery is a waste of effort.”) (quoting
  Kor Media Grp., LLC v. Green, 294 F.R.D. 579, 583 (D. Nev. 2013)).
        Furthermore, the only ruling that could moot HMD Global’s subpoena is a complete
  dismissal of CCE’s complaint. Even if the Eastern District of Texas were to deny HMD
  Global’s pending motion to dismiss, because standing is a “threshold jurisdictional issue”
  (Ex. D at 7-8) which CCE admitted “may be raised at anytime” (Ex. C at 11), HMD Global
  can present facts beyond the pleadings to support its claim, has no time limit to make this
  claim, and can take discovery and use that discovery to support a renewed motion. Uniloc
  USA, Inc. v. Apple Inc., No, 18-358, Docket No. 165 (N.D. Cal. Dec. 4, 2020) (granting
  renewed motion to dismiss for lack of standing based on new evidence obtained through
  discovery); see also Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 17-430, 2019 WL
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  2210686, at *3 (E.D. Tex. May 22, 2019) (“[J]urisdictional discovery should only be
  denied where it is impossible that the discovery ‘could . . . add[] any significant facts’ that
  might bear on the jurisdictional determination.”) (alteration and emphasis in original)
  (quoting Alpine View Co. v. Atlas Copco AB, 205 F.3d 208, 221 (5th Cir. 2000)). In
  addition, documents sought by the subpoena are relevant to other possible standing claims
  as well as internal analysis and valuations of the ’923 patent, prior royalties paid for it, and
  potential damages for infringement. For at least these reasons, no ruling on HMD Global’s
  motion to dismiss, short of a complete dismissal, will moot the subpoena and ARC must
  produce documents responsive to HMD Global’s requests.
  III.   HMD Global Seeks Documents Directly Relevant to CCE’s Standing Claims
         A.    ARC’s Licenses of its Subsidiaries’ Patents
         Requests 1-12 seek documents concerning ARC’s licenses of its subsidiaries’
  patents. These requests fall into four categories: documents concerning the agreements
  themselves by which ARC has licensed its subsidiaries’ patents (such as the “License and
  Covenant Not to Sue Agreement” between ARC and LG); agreements executed
  concurrently with those agreements, which are necessary to understand them, and
  communications and negotiations regarding any of these agreements.
               1.     Documents Concerning Licenses Between ARC and LG
         Request No. 1 seeks “documents concerning any agreement between persons
  including ARC and LG Electronics, Inc. that includes any patent license,” Ex. F at 7,
  including the “License and Covenant Not to Sue Agreement” between ARC and LG but
  also including any other license agreements between ARC and LG. ARC refuses to
  produce any documents regarding this request. Ex. R at 2-3; see Ex. S at 9-16.
         Documents sought by this request are directly relevant to CCE’s standing claims.
  They would include, for example, drafts of the “License and Covenant Not to Sue
  Agreement,” communications with LG regarding the “License and Covenant Not to Sue
  Agreement,” communications between ARC and CCE regarding the “License and
  Covenant Not to Sue Agreement,” and communications within ARC regarding the
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  “License and Covenant Not to Sue Agreement.” These documents would also include any
  analyses of the “License and Covenant Not to Sue Agreement” that ARC performed, and
  any documents showing the allocation (if any) of the $17.5 million that LG paid under the
  “License and Covenant Not to Sue Agreement.” Documents that would be responsive to
  this request would include, for example:
  ●     A prior draft of the “License and Covenant Not to Sue Agreement” with a signature
        block for CCE, that the parties did not include in the final agreement;
  ●     An email from ARC to LG suggesting, instead of talks with ARC’s subsidiaries,
        ‘why don’t we just simplify this and license you directly from ARC?’; or
  ●     An email from ARC to CCE stating that ARC has licensed the ’923.
  HMD Global has no idea whether these documents exist, of course, but that is precisely
  why it needs discovery. This request also seeks documents concerning any prior patent
  licenses between ARC and LG. If ARC and LG executed prior patent licenses, those
  licenses will show a course of dealing between the parties and shed light on their
  understanding, as the New York law selected by the “License and Covenant Not to Sue
  Agreement” confirms. See, e.g., Faulkner v. Nat’l Geographic Soc., 452 F. Supp. 2d 369,
  381 (S.D.N.Y. 2006) (explaining that “the parties’ course of dealing throughout the life of
  a contract is highly relevant to determining the meaning of the terms of the agreement”)
  (citations omitted); see also Trilegiant Corp. v. Sitel Corp., 272 F.R.D. 360, 364-65
  (S.D.N.Y. 2010) (holding that “anything that might further the interpretation” of the
  disputed contract provision “is relevant and subject to discovery”) (collecting cases). ARC
  must produce these documents. See Trilegiant Corp., 272 F.R.D. at 364-65 (ordering
  plaintiff to produce documents concerning disputed contract provisions and “the drafting
  and use of such contract language” in order to aid in the interpretation of those provisions).
               2.    Documents Concerning Other Licenses of its Subsidiaries’ Patents
        Request Nos. 5 and 9 seek documents concerning other licenses that ARC has
  executed covering its subsidiaries’ patents. Request No. 5 seeks “documents concerning
  any agreement between ARC and any other person or persons that includes any patent
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  license including a patent owned in whole or part by one or more Acacia Entities,” and
  Request No. 9 seeks “documents concerning any agreement between ARC and any other
  person or persons that includes any patent license including a patent that one or more
  Acacia Entities has authority to license.” Ex. F at 8, 9; see Ex. S at 25-27, 33-36. There is
  likely substantial overlap between patents “owned in whole or part by one or more Acacia
  Entities” and patents “that one or more Acacia Entities has authority to license”; HMD
  Global used both definitions to minimize the chance that artful reading could exclude
  documents. ARC refuses to produce any documents regarding these requests. Ex. R. at 3.
        HMD Global’s standing motion rests on the argument that ARC can and does hold
  the right to license patents held by its subsidiaries directly, rather than through the
  subsidiaries themselves. See generally Exs. B, D. If HMD Global is correct, then ARC
  subsidiaries such as CCE either lack standing to sue entirely, or lack standing to sue
  without ARC’s participation as a plaintiff in the case. These requests ask a simple
  question: has ARC done it before? If ARC has executed agreements like the “License and
  Covenant Not to Sue Agreement,” in which ARC licensed patents to which ARC
  subsidiaries held rights, those agreements and ARC’s practice of executing them would be
  relevant to the interpretation of the “License and Covenant Not to Sue Agreement,” and
  may also provide other bases to undercut CCE’s standing. See, e.g., G.E. Funding Capital
  Mkt. Servs., Inc. v. Nebraska Inv. Fin. Auth., Case No. 15-1069, 2017 WL 2880555, at *4
  (S.D.N.Y. July 6, 2017) (parol evidence may include “conversations, negotiations and
  agreements made prior to or contemporaneous with the execution of a written agreement”).
  These agreements are particularly necessary to rebut one of CCE’s arguments to the
  Eastern District of Texas, which is that without a “written agreement assigning rights to
  AR Corp., it is impossible for AR Corp. to have rights in the ʼ923 patent.” Ex. C at 5; see
  Ex. E at 1-2. HMD Global could rebut this argument by showing that ARC has a history
  of licensing its subsidiaries’ patents with or without the “written agreement assigning
  rights” that CCE claims is required—but only with discovery into ARC’s history of
  licensing its subsidiaries’ patents, which these requests seek. ARC cannot block discovery
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  necessary to rebut arguments of its subsidiary CCE. Finally, even if ARC has never
  executed any other agreements that license its subsidiaries’ patents, that too is relevant,
  and ARC should confirm that no such agreements exist.
               3.     Agreements Executed Concurrently With Those Agreements
        Request Nos. 2, 6, and 10 seek “documents concerning any agreement executed
  concurrently with,” respectively, agreements identified in Request Nos. 1, 5, and 9. Ex. F.
  at 7, 8, 9; see Ex. S at 17-19, 27-29, 36-39. ARC refuses to produce documents regarding
  these requests. Ex. R. at 2-3. Agreements identified in Request Nos. 1, 5, and 9 are
  directly relevant to CCE’s standing to bring its claim, see supra §§ III.A.1, III.A.2, and
  concurrent agreements are equally relevant because one cannot understand an agreement
  without understanding its full context including concurrent agreements. Consider: the
  “License and Covenant Not to Sue Agreement” says that LG will pay ARC $17.5 million.
  Ex. A. Suppose ARC and LG concurrently executed another agreement under which ARC
  would pay LG $12.5 million for ‘consulting services.’ That agreement would be relevant
  to the “License and Covenant Not to Sue Agreement” because it would show that the true
  fee is likely not what that agreement shows. Concurrent agreements often contain such
  related provisions, which affect understanding of a variety of provisions. Without the
  documents HMD Global seeks, it cannot know if any concurrent agreements have
  provisions relevant to the dispute. ARC must produce these documents. See Trilegiant
  Corp., 272 F.R.D. at 364-65 (ordering plaintiff to produce documents concerning disputed
  contract provisions and “the drafting and use of such contract language” in order to aid in
  the interpretation of those provisions).
               4.     Communications Regarding Agreements and Negotiations
        Request Nos. 3, 7, and 11 seek “communications concerning any agreement”
  identified, respectively, in Request Nos. 1-2, 5-6, and 9-10. Ex. F at 7, 8, 9; see Ex. S at
  19-23, 29-31, 38-40. And Request Nos. 4, 8, and 12 seek “communications concerning
  negotiations leading to any agreement” identified, respectively, in Request Nos. 1-2, 5-6,
  and 9-10. Ex. F at 8, 9; see Ex. S at 23-24, 31-32, 40-42. There is some overlap between
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  “communications concerning negotiations” and other “communications concerning any
  agreement,” but not total overlap, as “communications concerning negotiations” would not
  yield communications occuring after execution of an agreement. ARC refuses to produce
  any documents responsive to these requests. Ex. R. at 2-3. But the communications HMD
  Global requests are directly relevant to CCE’s standing claims.
        The negotiation history of a contract is highly relevant to understanding its meaning.
  67 Wall St. Co. v. Franklin Nat’l Bank, 37 N.Y.2d 245, 248-49 (1975) (recognizing that the
  court can look to the “surrounding facts and circumstances to determine the intent of the
  parties,” including “evidence of conversations, negotiations and agreements made prior to
  or contemporaneous with the execution” in order to explain ambiguities in a written
  agreement). Similarly, communications after execution of any agreements are highly
  relevant as showing the course of performance. See Fed. Ins. Co. v. Americas Ins. Co.,
  258 A.D.2d 39, 44 (1999) (“the parties’ course of performance under the contract is
  considered to be the most persuasive evidence of the agreed intention of the parties”)
  (internal quotation marks and citation omitted); Credit Suisse Sec. (USA) LLC v. Grand
  Circle LLC, Case No. 11-232, 2013 WL 5312511, at *11 (S.D.N.Y. Sept. 23, 2013) (“The
  parties’ objective manifestations of their intent—namely, their words to each other and
  their deeds—are significantly more probative than uncommunicated subjective intent.”)
  (internal quotation marks and citation omitted).
        Communications within ARC are also highly relevant, as they shed light on how
  ARC interpreted any agreements. See Dataflow, Inc. v. Peerless Ins. Co., Case No.
  11-1127, 2014 WL 148685, at *4 (S.D.N.Y. Jan. 13, 2014) (finding that defendant’s
  internal communications showing its interpretation of a written agreement are relevant to
  its interpretation of the agreement). And communications between ARC and CCE are
  highly relevant. For example, in opposing HMD Global’s motion to dismiss, CCE claimed
  that “AR Corp. did not purport to license the ʼ923 patent to LG” but rather that “AR Corp.
  recited a desire for CCE to grant LG a license.” Ex. C at 6, 7; see Ex. E at 3 (“The LG
  Agreement makes clear that AR Corp. will use its ownership of CCE to cause it to license
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  the ʼ923 patent”). CCE further claimed that “AR Corp.’s agreement to use its ownership
  rights to control CCE does not equate to ownership of CCE’s property (i.e., the ʼ923
  patent).” Id. Ex. E at 4 (citing Polaris PowerLED Techs., LLC v. Samsung Elecs. Am.,
  Inc., Case No. 17-715, 2019 WL 1399927, at *3 (E.D. Tex. Mar. 28, 2019); Ex. C at 6.
  HMD Global is entitled to test those claims by probing the communications that actually
  occurred. Did ARC ever actually “use its ownership of CCE to cause it to license the ʼ923
  patent,” as CCE claims it would have? Did ARC ever even tell CCE of its “desire for
  CCE to grant LG a license”? If the answer to these questions is “no,” then HMD Global
  has further evidence that the “Covenant and License Not to Sue” agreement was, as HMD
  Global contends, a license from ARC to LG, requiring nothing further from CCE. Or
  suppose ARC emailed CCE to say, ‘we have executed a license to your portfolio, so you
  must drop your case with LG.’ HMD Global is entitled to that evidence as well.
        Finally, communications between ARC and Nokia Siemens Networks B.V. (“NSN”)
  under various agreements entitling NSN to a share of revenues from the CCE portfolio are
  also highly relevant. See Exs. FF, GG, HH, II, JJ, KK. The Patent Purchase Agreement
  with NSN explicitly allows for an “Assigned Patent Portfolio Agreement” (Ex. FF § 1.6)
  or a “Combined Other Portfolio Agreement” (id. § 1.9), each of which can be “a grant by
  ARG or one of its Affiliates to a Third Party” of “a license, release, covenant not to sue” or
  other rights. Id. §§ 1.6, 1.9. The agreement included a mechanism for allocating royalties
  to NSN from a “Combined Other Portfolio Agreement”—a category which likely includes
  the “Covenant and License Not to Sue Agreement”—and resolution of disputes regarding
  the assignment of such royalties. Id. § 4.4. In December 2014, NSN and CCE revised
  their agreement and revisited this provision, confirming that “ARG (or an entity related to
  ARG) may enter into one or more Combined Other Portfolio Agreements” including the
  ’923 patent. Ex. JJ § II.13. CCE could not even execute this agreement by itself: it was
  between CCE, NSN, and AR Group. Id. at CCE_HMD_001643.
        Under these various agreements, it is likely that ARC communicated with NSN
  about the $17.5 million payment that LG sent to ARC under the “License and Covenant
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  Not to Sue Agreement,” and assigned a portion of that payment to CCE’s portfolio under
  the provisions regarding a “Combined Other Portfolio Agreement.” Ex. FF § 4.4; Ex. JJ
  § II.13. NSN may have disputed that assignment, and in response ARC may have further
  described the “License and Covenant Not to Sue Agreement.” All these communications
  would be highly relevant to HMD Global’s claims, because they address the meaning of
  the “License and Covenant Not to Sue Agreement.” See 67 Wall St., 37 N.Y.2d at 248-49.
  For example, ARC may have described these licenses to NSN as ‘entered into by ARC
  directly,’ and thus assigned less value to the CCE portfolio under the provisions governing
  royalties paid for a “Combined Other Portfolio Agreement.” To the extent that ARC
  executed other agreements in which it licensed its subsidiaries’ patents, those agreements
  too were likely “Combined Other Portfolio Agreements,” and communications with NSN
  or similarly situated patent owners would be highly relevant for the same reasons.
               5.    All of These Categories Are Highly Relevant to CCE’s Standing
        HMD Global’s Request Nos. 1-12 seek information summarized in this chart:




  For the reasons HMD Global has explained, see supra, each of these requests is highly
  relevant to CCE’s standing to bring its claims, and the Court should order production.
        B.     Documents Concerning the ’923 Patent
        Request Nos. 13-15 seek documents concerning the ’923 patent, including
  “documents concerning all communications, including any proposals to license,
  negotiations, discussions, offers to license, presentations, or any other communications,
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  regarding any potential agreement concerning the ’923 patent, including any potential
  license including the ’923 patent” (Request No. 13); “documents concerning any right,
  title, or interest in the ’923 patent” (Request No. 14); and “documents concerning any
  valuations or attempts to value the ’923 patent or any portfolio containing the ’923 patent.”
  Request No. 15. Ex. F at 9; see Ex. S at 42-44, 44-46, 46-48. ARC agrees to produce
  some documents “relating to the ownership of the ʼ923 patent,” but refuses to search
  emails, and refuses to search for all documents “concerning any right, title, or interest in
  the ’923 patent.” Ex. R at 3. ARC says it will produce “valuations concerning the ʼ923
  patent,” but again refuses to search emails. ARC refuses to produce anything responsive
  to Request No. 13—hardly a surprise, since it refuses to produce anything responsive to
  Request Nos. 1-12, which overlap Request No. 13 to the extent that any agreement, such
  as the “License and Covenant Not to Sue Agreement,” includes the ’923.
        Documents responsive to these requests are directly relevant to CCE’s standing in
  the underlying action. For example, if ARC sent a series of proposals to license a portfolio
  including the ’923 patent to LG or any other party, those communications would be highly
  relevant to HMD Global’s motion to dismiss because they would show ARC’s own
  understanding of its authorization to license the ’923 patent directly. Similarly,
  communications with NSN regarding any portfolio including the ’923 patent would be
  highly relevant not only regarding standing, but also regarding the value of the ’923 patent
  compared to others in ARC’s collective portfolio, thus providing evidence relevant to its
  value and thus potential damages against HMD Global. Finally, in opposing HMD
  Global’s motion to dismiss, CCE claimed “that all rights to the ʼ923 patent belong to
  CCE.” Ex. C at 3. HMD Global is entitled to test this assertion through discovery into
  “documents concerning any right, title, or interest in the ’923 patent,” not merely the lesser
  category of documents “relating to the ownership of the ʼ923 patent” offered by ARC.
        C.     Documents Concerning the Relationship Between ARC and CCE
        Requests Nos. 16-17 seek “documents concerning the relationship between ARC
  and CCE” (Request No. 16) and “communications concerning the relationship between
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  ARC and CCE.” Request No. 17. Ex. F. at 10; Ex. S at 48-50. ARC stated that, if HMD
  Global “agrees to exclude emails from its request, ARC is willing to search for non-public,
  responsive documents related to these requests.” Ex. R at 3. ARC thus admits the
  relevance of these documents, but refuses to search for them unless HMD Global agrees to
  exclude emails from its search, rendering the search useless since ARC and CCE have
  overlapping officers who work in the same offices and share ARC’s email system.
        These requests address CCE’s main argument in opposition to HMD’s motion to
  dismiss. CCE claims that ARC “did not purport to license the ʼ923 patent to LG” in the
  “License and Covenant Not to Sue Agreement,” but rather merely “recited a desire for
  CCE to grant LG a license” (Ex. C at 6, 7) and even claims that this agreement shows only
  that ARC “will use its ownership of CCE to cause it to license the ʼ923 patent.” Ex. E at
  3. HMD Global is entitled to test these assertions by understanding the full scope of the
  relationship between ARC and CCE. Does ARC often “recite a desire” for CCE to license
  patents, and what form does this recitation take? How does ARC generally supervise the
  activities of its subsidiary CCE? What records does it keep? If ARC “recite[d] a desire”
  for CCE to license patents to LG after LG paid ARC $17.5 million, where would those
  records be? All of these questions and many others would be answered by this discovery;
  without those answers, HMD Global cannot fairly assess CCE’s standing to bring its case.
        D.    Documents Concerning the Assignment from ARG to CCE
        Request No. 18 seeks documents concerning the “Assignment and Assumption
  Agreement,” which assigned patents including the ’923 patent from Acacia Research
  Group LLC (“ARG”), an ARC subsidiary, to CCE. Ex. F at 10; Ex. S at 52-53. ARC
  stated that, if HMD Global “agrees to exclude emails from its request, ARC is willing to
  search for non-public, responsive documents related to these requests.” Ex. R at 3. ARC
  thus admits the relevance of these documents, but refuses to search for them unless HMD
  Global agrees to exclude emails from its search, rendering the search useless since ARC,
  ARG and CCE have overlapping officers who work in the same offices and share ARC’s
  email system. Documents responsive to this request concern the chain of title of the ’923
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  patent. In opposing HMD Global’s motion to dismiss, CCE claimed “that all rights to the
  ʼ923 patent belong to CCE.” Ex. C at 3. HMD Global is entitled to test this assertion
  through discovery. Request No. 18 concerns the agreement CCE contends “transferred all
  rights in the ʼ923 patent that AR Group received from NSN to CCE.” Ex. C at 2.
  Suppose, for example, that contemporaneous documents exist that explain the purpose of
  this assignment and how the assignment affects any rights ARC or ARG may have
  concerning CCE or the ʼ923 patent. Such responsive documents would be highly relevant
  to the ownership of the ʼ923 patent and the authority to license it.
        E.     Documents Concerning the Starboard Security Agreement
        ARC’s security interest to Starboard, and its later rescinding of the security interest,
  may further undermine CCE’s standing to bring its claims. See supra § E. This issue is
  not hypothetical: just this month a patent monetization conglomerate, similar in structure
  to ARC, lost standing to pursue claims due to a security agreement. Uniloc USA, Inc. v.
  Apple Inc., No, 18-358, Docket No. 165 (N.D. Cal. Dec. 4, 2020). Requests 19-23 seek
  documents concerning the security interest (Request No. 19, see Ex. F at 10, Ex. S at
  54-56); documents concerning the release of the security interest filed a few months later,
  thus raising the question of whether ARC saw the Uniloc issues developing and realized
  that it had a similar problem (Request No. 20, see Ex. F at 10, Ex. S at 56-58); documents
  concerning communications regarding the agreements or release (Request No. 21, see Ex.
  F at 10, Ex. S at 59-61); “documents concerning any relationship between ARC and
  Starboard” and “communications concerning any relationship between ARC and
  Starboard.” Request Nos. 22-23, see Ex. F at 10, Ex. S at 61-66). ARC stated that, if
  HMD Global “agrees to exclude emails from its request, ARC is willing to search for
  non-public, responsive documents related to these requests.” Ex. R at 3. ARC thus admits
  the relevance of these documents, but refuses to search for them unless HMD Global
  agrees to exclude emails from its search, rendering the search useless since negotiations
  leading up to these agreements and discussions after them surely happened almost entirely


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  over email, not least because the Starboard security agreement was executed, filed and
  released this year, and was thus almost certainly negotiated all or mostly by email.
        Documents concerning these agreements, especially the emails showing negotiation
  of the security interest and its revocation, may independently undermine CCE’s standing in
  this case. See Uniloc USA, Inc. v. Apple Inc., 784 Fed. App’x at 765, 767-68 (remanding
  to the district court to “supplement the record, determine whether Uniloc has standing in
  the first instance, and, if appropriate, cure any jurisdictional defects”); Uniloc USA, Inc. v.
  Apple, Inc., Case No. 18-358, Docket No. 186 (N.D. Cal. Dec. 4, 2020) (dismissing case
  for lack of standing based on security agreement). These requests seek to probe these
  issues, which go directly to CCE’s standing to sue HMD Global for infringement.
        Communications regarding these agreements are highly relevant for the same
  reasons as communications regarding the other agreements HMD Global seeks:
  negotiation history of a contract is key to understanding its meaning, see 67 Wall St. Co. v.
  Franklin Nat’l Bank, 37 N.Y.2d 245, 248-49 (1975), later communications show course of
  performance (particularly relevant here where the parties to the agreement revoked it
  rather quickly), Fed. Ins. Co., 258 A.D.2d at 44, and communications within ARC show
  how ARC interpreted any agreements. Dataflow, Inc. v. Peerless Ins. Co., Case No.
  11-1127, 2014 WL 148685, at *4 (S.D.N.Y. Jan. 13, 2014); see generally supra § III.A.3.
        Finally, the relationship between ARC and Starboard is highly relevant for reasons
  similar to those regarding the relationship between ARC and CCE. See supra § III.C.
  Without the context of this overall relationship, one cannot understand the security interest
  and its revocation. Was Starboard otherwise invested in ARC? Did Starboard have some
  other interest that led it to first demand the security interest and then allow its revocation?
  Without answers to these questions, HMD Global cannot fully understand whether the
  Starboard transaction and its reversal separately undermine CCE’s standing to bring its
  claims. The Court should therefore grant this discovery.



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        F.     Documents Concerning ’923 Litigation or Other CCE Litigation
        Request Nos. 24-26 seek documents concerning this litigation or other CCE
  litigation. In fact, Request No. 24 seeks precisely “documents concerning this litigation or
  other CCE litigation.” Ex. F. at 10; see Ex. S at 66-68. Request No. 25 seeks “documents
  concerning communications between ARC and CCE concerning this litigation or other
  CCE litigation,” and Request No. 26 seeks “documents concerning communications
  between ARC and CCE concerning any actual or potential litigation concerning the ’923
  patent.” Ex. F. at 10; see Ex. S at 68-72. There is likely substantial overlap between these
  categories, as they all seek documents concerning ARC’s supervision of litigation
  involving CCE or the ’923 patent. ARC stated that, if HMD Global “agrees to exclude
  emails from its request, ARC is willing to search for non-public, responsive documents
  related to these requests,” but then immediately admitted that this offer was an empty one,
  because “it is ARC’s understanding that these documents would have already been
  produced by CCE in the underlying litigation.” Ex. R at 3. Setting aside whether this
  latter statement is correct—and CCE has not produced any documents regarding ARC’s
  supervision of any of its litigation—it confirms that ARC will produce these documents
  only if ordered to do so by this Court.
        This Court should order that production, because documents concerning ARC’s
  supervision of CCE’s litigation are highly relevant to CCE’s standing claims. In opposing
  HMD Global’s motion to dismiss, CCE claimed that in the “Covenant and License to Sue
  Agreement” ARC merely “recited a desire for CCE to grant LG a license” and would later
  “use its ownership of CCE to cause it to license the ʼ923 patent.” Ex. C at 6, 7; Ex. E at 3.
  Immediately after execution of the “Covenant and License to Sue Agreement,” however,
  CCE terminated its litigation against ARC. Documents responsive to these requests will
  show not only any communications around this time on this point, but also the baseline
  level of communication between ARC and CCE regarding supervision of its litigation,
  providing the denominator necessary to understand the numerator. Documents concerning
  ARC’s supervision of CCE’s litigation, as well as any other litigation regarding the ’923
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  patent, will also show whether ARC is the true plaintiff. If ARC makes every decision
  about CCE’s litigation, for example, rather than allowing CCE to make decisions and
  providing supervision and support, it will bolster the argument that ARC sees no
  distinction between itself and CCE, and thus further support HMD Global’s understanding,
  based so far on the “Covenant and License to Sue Agreement,” that ARC holds the right to
  license patents held by its subsidiaries directly, rather than through the subsidiaries
  themselves, which is the main thrust of HMD Global’s motion to dismiss. Exs. B, D.
  Responsive documents concerning ARC’s control over CCE and the ’923 patent may also
  show the relationship between ARC and CCE and the ’923 patent and thus would also be
  highly relevant to the claims raised in HMD Global’s motion to dismiss. The Court should
  compel production of these documents as well.
  IV.   HMD Global’s Requests are Not Unduly Burdensome
        A.     ARC Has Failed to Meet Its Burden to Show Burdensomeness
        ARC’s burden objection extends only to email production. Ex. R at 2. Regarding
  the “License and Covenant Not to Sue Agreement,” ARC notes that this agreement “is
  over four years old,” claims that since then “many, if not all, of the individuals who had
  first-hand knowledge of the agreement are no longer employed by ARC or its
  subsidiaries,” and that “[r]estoring the electronic records of former employees is a
  significant burden.” Ex. R at 2. But four years is hardly ancient history, many of HMD
  Global’s requests seek much more recent information, and most importantly ARC provides
  no evidence to back up these claims, no names of these departed employees and no
  specifics regarding its burden. Nor does ARC provide any further explanation of its
  burden regarding HMD Global’s other requests. Id. To the contrary, ARC’s own
  explanation of its burden reveals significant gaps. Although ARC claims that “many, if
  not all, of the individuals who had first-hand knowledge of the agreement are no longer
  employed by ARC,” it does not say who they are, or when they left, or what happened to
  their records. Ex. R at 2. ARC conspicuously does not say that all “individuals who had
  first-hand knowledge of the agreement” have left ARC, and surely would have if it could
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  have. Indeed, if most “individuals who had first-hand knowledge of the agreement” have
  left the company, ARC’s search may be easier than if they had stayed, because ARC
  would have transferred their records to new custodians, making a search simpler, not more
  complicated as ARC intimates.
           “The party who resists discovery has the burden to show discovery should not be
  allowed, and has the burden of clarifying, explaining, and supporting its objections.”
  Keith H. v. Long Beach Unified School Dist., 228 F.R.D. 652, 655-56 (C.D. Cal. May 18,
  2005) (citing Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975)); see also,
  e.g., In re Citimortgage, Inc., Home Affordable Modification Program (“HAMP”) Litig.,
  Case No. 11-2274, 2012 WL 10450139, at *4 (C.D. Cal. June 7, 2012) (“Generalized
  objections that a discovery request is burdensome without resort to specific reasons is . . .
  insufficient to justify a refusal to respond.”) (quoting Davidson v. Goord, 215 F.R.D. 73
  (W.D.N.Y. 2003) (alterations in original)). ARC has not met this burden; it has not come
  close.
           B.    ARC’s Duty to Preserve Documents Attached when ARC Negotiated and
                 Executed the “License and Covenant Not to Sue Agreement” and Any
                 Similar Agreements Licensing ARC’s Subsidiaries’ Patents

           ARC cannot cite burden to evade its production obligations for another reason: its
  civil duty to preserve documents attached at their creation. “The duty to preserve evidence
  begins when litigation is pending or reasonably foreseeable.” City of Colton v. American
  Promotional Events, Inc., Case No. 09-1864, 2011 WL 13223947 at *3 (C.D. Cal. Oct. 6,
  2011). “This is an objective standard, asking not whether the party in fact reasonably
  foresaw litigation, but whether a reasonable party in the same factual circumstances would
  have reasonably foreseen litigation.” Micron Technology, Inc. v. Rambus Inc., 645 F.3d
  1311, 1320 (Fed. Cir. 2011). As soon as ARC had “notice” or “should have known that the
  evidence may be relevant to future litigation” ARC had a duty to preserve these
  documents. Id. For the documents HMD Global seeks in the subpoena, that obligation
  attached at the time of their creation. As a sophisticated litigant in the business of
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  litigation, see supra § A, ARC knew this well; if it failed to preserve its documents
  properly, it has only itself to blame, and cannot use its own failure as an excuse.
        Patent licenses are part of the standard document production in any patent litigation
  suit. Kajeet, Inc. v. Qustodio, LLC, Case No. 18-1519, 2019 WL 8060078 at *8 (C.D. Cal.
  Oct. 22, 2019) (ordering plaintiff “to produce all documents relating to settlement and
  license negotiations with third parties involving any of the Patents-in-Suit.”); Sound View
  Innovations, LLC v. Hulu, LLC, 2018 WL 6164271 at *2 (C.D. Cal. June 12, 2018) (“the
  Court grants the Motion to Compel to the extent that defendant must produce all patent
  license agreements.”). CCE’s prompt production of license agreements relating to the ’923
  patent shows that ARC understands the relevance of these agreements in patent litigation.
  This common practice was enough to trigger ARC’s obligation to preserve documents
  regarding the “License and Covenant Not to Sue Agreement” and any similar licenses.
        ARC’s civil duty to preserve documents attached for another, more specific reason
  as well: in 2010, the Federal Circuit found explicitly that an infringement plaintiff “lacks
  standing to sue a party who has the ability to obtain such a license from another party with
  the right to grant it.” WiAV Sols. LLC, v. Motorola, Inc., 631 F.3d 1257, 1266 (Fed. Cir.
  2010). This ruling is central to HMD Global’s motion to dismiss, which establishes that
  ARC is just such “another party with the right to grant” a license to the ’923 patent, thus
  preventing CCE from excluding its use and stripping CCE’s standing. When ARC
  executed the “Covenant and License to Sue Agreement” six years later, it was “reasonably
  foreseeable” that this agreement would engender litigation challenges to the standing of
  any ARC subsidiary covered by that agreement—which was all of them. City of Colton,
  2011 WL 13223947 at *3; see Ex. A §§ 1.2, 2.2. ARC’s various subsidiaries have been in
  continuous litigation since then, see supra § A, and for that entire time ARC should have
  known, and sophisticated litigation business ARC surely did know, that the structure of the
  “License and Covenant Not to Sue Agreement” was likely to draw challenge, as it now
  has. Since at least the execution of the “License and Covenant Not to Sue Agreement,”
  more likely from whenever ARC accepted the idea of executing the agreement itself, ARC
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  has had a duty to preserve documents regarding this agreement. The same will be true of
  any other agreements in which ARC licenses patents held by its subsidiaries.
        ARC cannot claim it is burdensome to recover from its own records documents it
  had a duty to preserve. Knowing its duty, ARC should have stored these documents in a
  place from which it could easily retrieve them. If it failed to do so, that is its own fault,
  and ARC cannot use its own failure to store its documents well to evade its production
  obligations. Although this is particularly true for documents subject to the duty to
  preserve, for a litigation company such as ARC it is generally true as well. ARC or its
  subsidiaries have filed 1,430 district court actions over the last twenty years, an average of
  more than 70 per year. See Ex. EE. ARC has surely received dozens of subpoenas, if not
  more, and its subsidiaries over a thousand. ARC is sophisticated enough to decide, should
  it wish to do so, to store its records in a way that makes them harder to retrieve in
  litigation, thus providing it with an additional argument against discovery. This Court
  should not allow ARC to engineer its way out of discovery obligations through sloppy
  record-keeping.
        C.     ARC Cannot Shift Its Burden Onto HMD Global
        ARC tries to shift the burden onto HMD Global, arguing that because HMD Global
  could not identify custodians and search terms, ARC need not search at all. Ex. R at 2.
  But ARC asks HMD Global to provide information it does not know. HMD Global does
  not know who at ARC negotiated the “License and Covenant Not to Sue Agreement” with
  LG, and thus cannot provide custodians to search. HMD Global does not know whether
  ARC has entered into any other agreements that, like the “License and Covenant Not to
  Sue Agreement ,” contain patent licenses, and thus cannot provide search terms. ARC’s
  attempt to push the burden onto HMD Global serves no purpose except to avoid discovery.
        Conversely, the burden on ARC of searching for documents would be minimal.
  Public records show that ARC has fewer than 20 employees. Ex. BB. ARC can easily
  find out who on its staff worked on these agreements and search their emails for relevant
  documents, and can consult its central repositories as well. A core part of ARC’s business
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  is negotiating and executing license agreements, and ARC surely has a procedure for
  storing documents regarding those core functions. Finally, ARC claims that it “does not
  believe any” documents in certain categories exist. Ex. R at 3. Surely ARC knows this
  more surely and can thus make a more definite statement, but in any event if no such
  agreements exist, it will not be hard to confirm that they do not. Otherwise, ARC can lose
  its cake and have it too, by claiming it is too hard to search for documents because they
  might not exist, while depriving HMD Global of the evidentiary value of learning that
  documents do not exist.
        D.     The Court Should Not Grant ARC Consideration as a Non-Party
        ARC claims that it should be subject to special consideration as a non-party to the
  underlying litigation. But ARC is not a non-party to the underlying action in any
  reasonable sense. ARC owns all of CCE (through an intermediary which it also owns),
  has the same lawyers as CCE, and communicates on the same channels and in the same
  letters as CCE. Ex. A at 2-3; Ex. U (“CCE and ARC are jointly represented by the same
  counsel in this matter.”). Indeed, the “License and Covenant Not to Sue Agreement” and
  the license ARC granted to LG in it show the entanglement between ARC and LG, and
  support HMD Global’s standing motion in the underlying action. Nor can ARC benefit
  from any agreement between CCE and HMD Global regarding the conduct of the
  underlying action, having chosen not to be a plaintiff in that action and thus to avoid the
  obligations concomitant with that status. As other courts have recognized, the
  “relationship between the plaintiff and Acacia suggests that Acacia is entitled to less
  deference regarding convenience than a true third party. Acacia appears to have an interest
  in the outcome of this litigation.” Cellular Commc’n Equip. LLC v. HTC Corp., Case No.
  15-2373, Docket No. 19 (S.D. Cal. Dec. 16, 2015).
        E.     Production of Emails is Routine in This District
        Even if ARC were not a sophisticated party familiar with the litigation procedures of
  patent disputes and entwined in this litigation as CCE’s parent company, HMD Global’s
  requests would not be burdensome. Courts routinely order searching of emails, In re
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  Citimortgage, Inc., 2012 WL 10450139, at *5 (“Defendant must search all of its email
  servers and produce all emails to/from/relating to the named plaintiffs, including
  defendan’s internal communications concerning those emails”); Aquastar Pool Prods., Inc.
  v. Color Match Pool Fittings, Inc., Case No. 18-mc-94, 2019 WL 856860, at *4 (C.D. Cal.
  Jan. 23, 2019) (“With these additions to the list, defendant must search for and produce
  emails responsive to RFP Nos. 12-14 as narrowed.”), even to third-party subpoena
  respondents contesting enforcement. Liqwd, Inc. v. L’Oreal USA, Inc., Case No. 19-15,
  Docket. No. 33 (C.D. Cal. Feb. 28, 2019). ARC fails to articulate the specific burden it
  would suffer, and it must produce documents responsive to HMD Global’s requests.
                                       CONCLUSION
        For the foregoing reasons, HMD Global respectfully requests that the Court grant
  HMD Global’s motion to compel production of all documents responsive to Requests for
  Production Nos. 1-26 in HMD Global’s Subpoena To Produce Documents, Information, or
  Objects or to Permit Inspection of Premises in a Civil Action.


  Date: December 21, 2020                           Respectfully submitted,

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